                                                                              Case 3:20-cv-00614-JO-BLM Document 117-2 Filed 07/01/21 PageID.406 Page 1 of 8




                                   1                                           Office
                                                                               Ofﬁce of
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                                                                                         the City Attorney
                                                                                             Ci Attorney
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                                                                               JOHN
                                                                               JOHN P.P. MULLEN
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                                   2                                           City
                                                                               City Attorney,
                                                                                    Attorney, CA
                                                                                               CA Bar  No. 160510
                                                                                                  Bar No.  160510
                                                                               Barbara
                                                                               Barbara Hamilton
                                                                                         Hamilton
                                   3                                           Assistant City
                                                                               Assistant  Ci Attorney,
                                                                                               Attorney, CA
                                                                                                         CA Bar
                                                                                                              Bar No.
                                                                                                                  No. 163806
                                                                                                                      163806
                                                                               Lisa
                                                                               Lisa Ricksecker
                                                                                    Ricksec er
                                   4                                           Sr.
                                                                               Sr. Deputy
                                                                                   Deputy City
                                                                                            City Attorney,
                                                                                                 Attorney, CA
                                                                                                           CA Bar
                                                                                                               Bar No.
                                                                                                                   No. 201746
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                                                                               300  North Coast
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                                   5                                           Oceanside,
                                                                               Oceanside, CACA 92054
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                                                                               (760)
                                                                               (760) 435-3969
                                                                                     435-3969 FAX:
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                                                                                                      (760) 439-3877
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                                   6
                                                                               Attorneyss for
                                                                               Attorne    for Defendants
                                                                                              Defendants
                                   7                                           Angie Hanifin,
                                                                               Angie   aniﬁn, Margery
                                                                                              Margery Pierce,
                                                                                                      Pierce, Keysa
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                                                                               Susana Sandoval-Soto
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                                                                                      MUSGROVE                           CASE NO.: 20-cv-00614-GPC
                                                                                                                         CASE NO.: 20-cv-00614-GPC
13                                                                                                         Plaintiff,
                                                                                                           Plaintiff,
                                                                                                                         ACTION
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18                                                                                                                                     I. Attorneys
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Case 3:20-cv-00614-JO-BLM Document 117-2 Filed 07/01/21 PageID.408 Page 3 of 8




                        Exhibit 11
Case 3:20-cv-00614-JO-BLM Document 117-2 Filed 07/01/21 PageID.409 Page 4 of 8



          "ﬂumm‘ba                                          U.S. Department of Housing and Urban Development
     3,          i                                          Ofﬁce of Fair Housing and Equal Opportunity - Region [X
     3t        *                                            One smome Street. Suite 1200
     a         “‘3‘                                         San Francisco, Calil'omia 94104-4430
      “a... ma                                              Voice: (sou) 347-3739 (All 5) 439m
                                                            TTY: [415] 489-6564 Fax: (415) 439-6560
                                                            wwwhudgov espanolhudgov




     City of Oceanside Housing Authority
     300 North Coast Highway
     Oceanside. CA 92054-2885

     SUBJECT:               Housing Discrimination Complainant
     CASE NAME:             Musgrove. Irvin v. City of Oceanside Housing Authority, et a].
     CASE NUMBERS:          09-19-6963—8 (Title VIII)
                            09-19—6963—4 (Section 504)
                            09- l 9-6963-D (ADA)

                      DETERMINATION OF NO REASONABLE CAUSE (Title V1111
                           LETTER OF FINDING (Section 504 and ADA)

     Dear Respondent:

     The Department of Housing and Urban Development ("the Department”) administers the Fair
     Housing Act (“the Act”). The Department has completed its investigation of the subject
     complaint which went ﬁled under the Act. Informal efforts to resolve the case during the
     investigation were unsuccessful.

     Based on the evidence obtained during the investigation, the Department has determined that
     reasonable cause does not exist to believe that a discriminatory housing practice has occurred
     under the Act. Our determination with regard to the Act pertains only to the specific matters
     addressed in the subject complaint investigation. Further. the Department has determined that the
     respondents did not violate Section 504 of the Rehabilitation Act of 1973 (“Section 504“) or
     Title II of the Americans with Disabilities Act of I990 (“ADA"). Accordingly, the above-
     referenced complaints are hereby dismissed. A summary of the evidence on which this
     determination is based is enclosed with this letter. This dismissal does not prevent you from
     ﬁling another complaint with HUD based on newly discovered or previously unavailable
     information provided the one—year time limit for ﬁling a complaint has not expired.

     Please be advised that our determination with regard to Section 504 and ADA pertains only to
      the speciﬁc matters addressed in the subject complaint investigation. Should other jurisdictional
     complaints be ﬁled against a respondent, the respondent will be subject to a Section 504 and
     ADA investigation. A respondentlrecipient or complainant may request a review of the Section
     504 Preliminary Letter of Findings (“LOF”) by the Department’s Assistant Secretary for the
     Ofﬁce of Fair Housing and Equal Opportunity, room 5100. U.S. Department of Housing and
     Urban Development. 451 7th Street. SW, Washington. DC 20410. A request must be made
     within thirty (30) days of receipt of this letter. If either party requests a review. the request must
     include a written statement of why the letter of findings should be modiﬁed.
Case 3:20-cv-00614-JO-BLM Document 117-2 Filed 07/01/21 PageID.410 Page 5 of 8




     Notwithstanding this dismissal by HUD, the Fair Housing Act provides that the complainant may
     file a civil action in an appropriate federal district court or state court within two years after the
     occurrence or termination of the alleged discriminatory housing practice. The computation of
     this two-year period does not include the time during which this administrative proceeding was
     pending. In addition, upon the application of either party to such civil action, the court may
     appoint an attorney, or may authorize the commencement of or continuation of the civil action
     without the payment of fees, costs, or security, if the court determines that such party is
     ﬁnancially unabie to bear the costs of the lawsuit.

     The Department's regulations implementing the Act require that a dismissal, if any, be publicly
     disclosed, unless a party requests that no such release be made. 24 CFR 103.400(a)(2)(ii). Such
     request must be made within thirty (30) days of receipt of the determination to Director, Ofﬁce
     of Enforcement, Ofﬁce of Fair Housing and Equal Opportunity, 451 Seventh Street, S.W.
     Washington. DC. 20410. Notwithstanding such request by the respondents, the fact of a
     dismissal, including the names of all parties, is public information and is available upon request.

     The Final Investigative Report on this case is available by writing to me at the U. S. Department
     of Housing and Urban Development, Ofﬁce of Fair Housing and Equal Opportunity, One
     Sansome Street, Suite 1200, San Francisco, CA 94104-4430.

                                                    On behalf of the Department of
                                                    Housing and Urban Development




       9! l 81’2020                                                I
      Date                                          Anne Quesada, Regional Director
                                                    Office of Fair Housing and
                                                     Equal Opportunity (FHEO)




      Enclosure
Case 3:20-cv-00614-JO-BLM Document 117-2 Filed 07/01/21 PageID.411 Page 6 of 8




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     CASE NAME: Musgrove, Irvin v. City of Oceanside Housing Authority, et at.
     CASE NUMBER: 09-] 96963-8 f 09- l 9-6953-4 I 09-] 9-6963-0

             Complainant Irvin Musgrove has a Section 8 Housing Choice Voucher (“HOV”).
     Respondents are the City of Oceanside Housing Authority (OHA) and Angie Hanifin, OHA
     Housing Administrator. Complainant alleged to the U.S. Department of Housing and Urban
     Development (“the Department”) that Respondents discriminated against him based on disability
     in violation of subsections 804(i)(2) and 804(t)(3)(B) of the Fair Housing Act (“the Act”) when
     Respondents denied his reasonable accommodation requests to: l) extend his HCV in April
     2019, 2) have a live-in aide, and 3) assist him to ﬁnd housing. Complainant also alleges that
     Respondents’ actions violated Section 504 of the Rehabilitation Act of 1973 (“Section 504") and
     Title II of The Americans with Disabilities Act of 1990 (“ADA"). The Department investigated
     the complaint and has determined that no reasonable cause exists to believe Respondents‘ actions
     violated the Act or were out of compliance with Section 504 or the ADA.
     Discrimination under 8051:1121 and {£191t of the Act, Section 504, and the ADA

            To establish a violation under 804(f)(2) and (l)(3)(B) of the Act, Section 504, or the
     ADA, the investigation must ﬁnd that Complainant made reasonable accommodation requests
     that were denied by Respondents.
             Complainant alleged that on April 1?, 2019, Respondents denied his reasonable
     accommodation request to extend his HCV so he would have additional time to search for
     housing. Records showed that Respondent OHA extended Complainant‘s HCV ﬁve times as a
     reasonable accommodation from September 5, 2018 to February 28, 2019. On February 25,
     2019, Complainant submitted a potential unit for inspection, and on March 7, 2019, the unit
     failed to pass inspection. Subsequently, Respondent OHA extended Complainant's HCV to
     March 25, 2019. On April 17, 2019, Complainant again requested to extend his HCV. On May
     14, 2019, Respondent OHA asked Complainant to provide additional information to support his
     request. On May 22, 2019, Respondent OHA veriﬁed with Complainant‘s healthcare provider
     that he has a disability related need for an extension and Complainant’s HCV was extended to
     July 3, 2019. On June 4, 2019, Complainant ported his voucher to San Diego Housing Authority.
     The investigation did not find evidence to support the allegation that Respondent OHA denied
     Complainant’s request to extend his voucher.
             Complainant also alleged that Respondents denied his request for a live-in aide, which
     would qualify him for a two-bedroom HCV instead of a one-bedroom HCV . Complainant
     requested a live-in aide on September 12, 2018, and Respondents granted the accommodation on
     October 16, 2018. Respondent asserted that as part of the process to approve an aide, the
     potential live-in aide must be interviewed by Respondent OHA. It is undisputed that
     Complainant’s potential live-in aides never appeared for the required interviews with
     Respondent OHA. The investigation did not ﬁnd evidence to support the allegation that
     Respondent OHA denied Complainant’s request for a live-in aide.
Case 3:20-cv-00614-JO-BLM Document 117-2 Filed 07/01/21 PageID.412 Page 7 of 8



     Mmgmve, Irvin v. City ofOceanside Housing Authority, e: oi.
     CASE NUMBERS: 09-19-6963-8 I 09-19-6963-4l09—19-6963-D

             Complainant also alleged that Respondents denied his request for assistance in seeking
     housing. It was undisputed that Respondent OHA provided Complainant with resources
     including websites with property listings and a list of property management companies and
     apartment complexes that regularly work with the HCV program. It was also undisputed that
     Respondent OHA provided Complainant with the Community Resources for Persons with
     Disabilities packet that includes iists of helpful community agencies and a list of apartment
     complexes known to have accessible units. The investigation did not ﬁnd evidence to support the
     allegation that Respondent OHA denied Compiainant’s request for assistance in seeking housing.
              Based on these ﬁndings, there is no reasonable cause to believe that Respondent violated
     (804)(f)(2) and (t)(3)(B) of the Act, Section 504, or the ADA.

     Additional Information

             This determination only addresses the violations of the Fair Housing Act. Section 504.
     and ADA alleged in the complaint and does not address any potential violations of any other
     provision of law. A determination of no reasonable cause is limited to the facts developed in a
     speciﬁc investigation and is not a determination of compliance with Fair Housing Act
     requirements. A copy of the ﬁnal investigative report can be obtained from: Anne Quesada,
     Regional Director, Ofﬁce of Fair Housing and Equal Opportunity, One Sansome Street, Suite
     1200, San Francisco, CA 94104-14430.




     Anne Quesada
     Regional Director
     Ofﬁce of Fair Housing and
       Equal Opportunity




                                                            Page 2 of 2
Case 3:20-cv-00614-JO-BLM Document 117-2 Filed 07/01/21 PageID.413 Page 8 of 8




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     f                                                   OfﬁceofFairHotBinganqullOppoﬂmity-Rogion-DC
     i I'   *                                            0m Sansone Street. Suite 1200
     i    a;                                             San Francisco. Califnmin 941044430
      “Mme                                               Voice: (son) 341.3739 (415) 489-6400
                                                         m: (415) 439-5564 Fax: (415) 439-6560
                                                         www.hud.gov aspenolhudmov



     City ofOceanside Housing Authority                                                         RECEIVED              I - i;
     300 North Coast Highway                                                                                               '5.
     Oceanside, CA 92054-2885                                                                   931 g 1 2920                 1
     Dear Respondent:                                                                    _ _.    SIDE CETYATYOKV-ﬁ‘tfwﬁiﬂ

     Subject: Final Letter of Determination                                    '
     Case Name: Musgrove, Irvin v. City ofOceanside Housing Author-1‘9, et a].
     HUD Case No.: 09-19-6963-4 (Section 504) 7
             The Department of Housing and Urban Development has completed its investigation to
     determine whether the City ofOceanside Housing Authority has met the requirements of Section
     504 of the Rehabilitation Act of 1973 (“Section 504”). The complainant alleged that the City of
     Oceanside Housing Authority discriminated against him based upon disability in violation of
     Section 504.

           Neither party has requested that a review be made of the Letter of Findings. Pursuant to
     24 CPR §8.56(h)(4), the Department is making a formal written determination of compliance.
     Speciﬁcally, the Department ﬁnds that the City ofOceanside Housing Authority is in compliance
     with Section 504 for those issues reviewed during the investigation of this complaint.


                                                  Sincerely,


                                                 kféww,
                                                  Regional Director
                                                  Oﬂﬁce of Fair Housing and
                                                    Equal Opportunity
